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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         NORTHERN DIVISION

AMERICAN SAFETY INS. CO.,                 )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )         Civil Action No. 15-00639-N
                                          )
RED LEACH & SONS INS., et al,             )
                                          )
      Defendants.                         )

                                      ORDER

      This action is before the Court sua sponte on the Defendants’ filing of their

Amended Answer and Additional Affirmative Defenses (Doc. 32). The Amended

Answer (Doc. 32) is ordered STRICKEN as improperly filed.              The amended

pleading was filed on May 16, 2016, far after the deadline for the Defendants to

amend their answer as a matter of course. See Fed. R. Civ. P. 15(a)(1)(A); (Doc. 15

[Initial Answer filed Jan. 21, 2016]).        Therefore, they may now amend their

pleading “only with the opposing party’s written consent or the court’s leave.” Fed.

R. Civ. P. 15(a)(2). The Defendants have obtained neither prior to the filing of their

Amended Answer.

      Moreover, the deadline for “motions for leave … to amend the pleadings

under Rule 15(a)(2)” set out in the scheduling order has passed. (Doc. 27 at 3).

Therefore, should the Defendants hereafter file a motion for leave to amend their

answer, they must first show “good cause” to modify the scheduling order under

Federal Rule of Civil Procedure 16(b)(4) before the Court can consider whether to

allow the amendment under Rule 15(a)’s more liberal standard.            See Sosa v.
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Airprint Sys., Inc., 133 F.3d 1417, 1419 (11th Cir. 1998) (per curiam) (“Sosa's brief

on appeal does not address good cause under Rule 16(b), but focuses instead upon

the liberal amendment standard set out in Federal Rule of Civil Procedure 15(a). If

Sosa's motion for leave to amend had been filed within the time prescribed by the

scheduling order, Rule 15(a) would be our primary focus, as well. However, because

Sosa's motion to amend was filed after the scheduling order's deadline, she must

first demonstrate good cause under Rule 16(b) before we will consider whether

amendment is proper under Rule 15(a). If we considered only Rule 15(a) without

regard to Rule 16(b), we would render scheduling orders meaningless and effectively

would read Rule 16(b) and its good cause requirement out of the Federal Rules of

Civil Procedure.” (citations omitted)); S. Grouts & Mortars, Inc. v. 3M Co., 575 F.3d

1235, 1241 (11th Cir. 2009) (per curiam) (“A plaintiff seeking leave to amend its

complaint after the deadline designated in a scheduling order must demonstrate

‘good cause’ under Fed. R. Civ. P. 16(b).”).

      DONE and ORDERED this the 17th day of May 2016.

                                         /s/ Katherine P. Nelson
                                         KATHERINE P. NELSON
                                         UNITED STATES MAGISTRATE JUDGE




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